Case 1:O4-cV-01219-.]DB-egb Document 12 Filed 06/06/05 Page 1 of 2 Page|D 19

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IN THE UNITEI) sTATES DISTRICT coURT "`““--D-C-
WESTERN DISTRICT oF TENNESSEE 05 JUN _5 AH
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precise _
THE CITY oF sAvANNAH, TENNESSEE, ) C='.EHK, LTSDLI;,£YO§IO
a municipal corporation, ) W- D» OF TN JACKSOE~V
)
Plaincirf, )
)
v. ) Civil No. 04-1219-T-An
)
GARVER ENGINEERS, LLC, )
)
Defendant. )

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THIS MATTER came on for a Pretrial Confcrence before the Honorable S. Thomas
Anderson on May 24, 2005. During the Pretrial Cont`erence, counsel advised Judge Anderson of
a pending administrative law proceeding styled as Citv of Savannah. Tennessee, Petitioner v.
State of Tennessee Denartment of Transportation, Respondent at Docket No. 22.00-061389].
The subject matter of the administrative law proceeding concerns facts and issues raised in the
above-captioned lawsuit Resolution of the administrative law proceeding could render moot the
above-captioned lawsuit. At the instruction of Magistrate Judge Anderson, the parties have filed
a Joint Motion to Stay Federal Court Lawsuit.

WHEREFORE, the Court having considered the Joint Motion and Magistrate Judge
Anderson’s recommendation, it is ORDERED that this action, as Well as all of its associated
pretrial discovery deadlines, is stayed pending resolution of the above-referenced administrative

law proceeding or until such time as one or both parties requests another Pretrial Conference.

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ENTERED this day of , 2005 .

This document entered on the docket sheet la compliance

with sure 58 and;or 79 (a) FacP on C la ~( )lQ »O~>

  

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 12 in
case 1:04-CV-01219 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

